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3    Fax (916) 447-0931
4    Attorney for Defendant
     FRANK ALIOTO
5

6                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
7

8
     UNITED STATES OF AMERICA,                      )       No. CR-S-11-190 MCE
9                                                   )
                                                    )
10          Plaintiff,                              )       STIPULATION AND (PROPOSED) ORDER
                                                    )       EXTENDING TIME TO POST
11   v.                                             )       POST PROPERTY BOND
                                                    )
12                                                  )
     FRANK ALIOTO,
                                                    )
13                                                  )
            Defendant.                              )
14                                                  )
                                                    )
15                                                  )
16

17
            On May 2, 2012, the Honorable Kendall J. Newman ordered defendant Frank Alioto
18
     released on a $250,000.00 unsecured bond, co-signed by the defendant’s mother, Joan Alioto, to
19
     be replaced by a secured bond, secured by the real property owned by Mrs. Alioto, within two
20
     weeks. On May 23, 2012 a stipulation and proposed order was filed and approved to extend the
21
     due date of the filing to May 30, 2012. On June 1, 2012 another stipulation and proposed order
22
     was filed and approved to extend the due date of the filing to June 13, 2012.
23
            The Surety has provided the bond documents, and counsel has provided the documents to
24
     the Government. The Government needs additional time to review the documents received from
25
     the defense. Additionally, once the documents are approved the defense will need time to have
26
     the deed recorded and file the bond.
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1           Accordingly the parties agree the deadline for posting the property bond may be extended
2    to June27, 2012. This office has contacted Jason Hitt of the U.S. Attorney’s Office, and he has
3    no objection to this request.
4

5    Dated: June 12, 2012                                /s/ John R. Manning
                                                         JOHN R. MANNING
6                                                        Attorney for Defendant
                                                         Frank Alioto
7

8

9    Dated: June 12, 2012                                Benjamin B. Wagner
10
                                                         United States Attorney

11
                                                         by: /s/ Jason Hitt
12                                                       JASON HITT
13
                                                         Assistant United States Attorney

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                 Case 2:11-cr-00190-KJM Document 81 Filed 06/13/12 Page 3 of 3



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                                  IN THE UNITED STATES DISTRICT COURT
8
                                FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10
     UNITED STATES OF AMERICA,                       ) No. CR-S-11-190 MCE
11
                                                     )
                                                     )
              Plaintiff,                             ) ORDER EXTENDING
12
                                                     ) TIME TO POST PROPERTY BOND
     v.                                              )
13
                                                     )
14   FRANK ALIOTO,                                   )
                                                     )
                                                     )
15            Defendant.                             )
                                                     )
16
                                                     )
                                                     )
17

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19
              For good cause appearing, the due date for posting of a secured property bond in this
20
     matter shall be continued to June 27, 2012.
21

22   Dated: June 12, 2012

23

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25
     Dad1.crim.alioto0190.stipord.bond.ext
26

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